        Case 16-24710-GLT                       Doc 98
     Fill in this information to identify the case:
                                                              Filed 02/02/22 Entered 02/02/22 15:20:13                     Desc Main
                                                              Document Page 1 of 5
     Debtor 1              THOMAS D. HUBINSKY


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          16-24710GLT




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.

 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  BANK OF AMERICA NA**                                                             8

 Last 4 digits of any number you use to identify the debtor's account                         4   9   7   7

 Property Address:                             160 UNIVERSAL RD
                                               PITTSBURGH PA 15235




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $         136.50

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $         136.50

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $         136.50


 Part 3:             Postpetition Mortgage Payment


 Check one

 ý Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $624.86
         The next postpetition payment is due on                 3 / 1 / 2022
                                                                MM / DD / YYYY

 ¨ Mortgage is paid directly by the debtor(s).


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Debtor 1     THOMAS D. HUBINSKY                                               Case number   (if known)   16-24710GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)



 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date   02/02/2022


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     THOMAS D. HUBINSKY                                           Case number   (if known)   16-24710GLT
             Name




                                               Disbursement History

Date         Check #    Name                                    Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
03/28/2018 1072948      BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR                            136.50
                                                                                                                         136.50

MORTGAGE REGULAR PAYMENT (Part 3)
05/25/2017   1039859    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR             2,615.90
06/27/2017   1043206    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               729.35
07/19/2017   1043206    BANK OF AMERICA NA**                    CANCELLED CHECK TO CREDITOR/CONTINUING DEBT-729.35
07/19/2017   1039859    BANK OF AMERICA NA**                    CANCELLED CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                         -2,615.90
07/19/2017   1046228    BANK OF AMERICA NA**                    PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT729.35
07/19/2017   1046228    BANK OF AMERICA NA**                    PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                          2,615.90
07/25/2017   1046567    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               729.36
08/25/2017   1049879    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               881.07
09/26/2017   1053213    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               619.46
10/25/2017   1056591    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               619.46
11/21/2017   1059927    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               619.46
12/21/2017   1063147    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               619.46
01/25/2018   1066551    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               619.46
02/23/2018   1069785    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               619.46
03/28/2018   1072948    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
04/24/2018   1076177    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
05/25/2018   1079396    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
06/22/2018   1082651    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
07/26/2018   1085750    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
08/28/2018   1089021    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
09/25/2018   1092231    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
10/29/2018   1095386    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
11/27/2018   1098651    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
12/21/2018   1101741    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
01/25/2019   1104866    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
02/25/2019   1108138    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
03/25/2019   1111382    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
04/26/2019   1114663    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               637.37
05/24/2019   1118041    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR             1,334.14
06/25/2019   1121393    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               641.30
07/29/2019   1124868    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               641.30
09/24/2019   1131743    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR             1,220.86
10/24/2019   1134979    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
11/25/2019   1138437    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
12/23/2019   1141884    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
01/28/2020   1145241    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
02/25/2020   1148754    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
03/23/2020   1152301    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
04/27/2020   1155762    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
05/26/2020   1159157    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
06/26/2020   1162531    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
07/29/2020   1165724    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
08/25/2020   1168795    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
09/28/2020   1171878    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
10/26/2020   1174985    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
11/24/2020   1178075    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               620.72
01/25/2021   1184004    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR             1,231.05
02/22/2021   1187068    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               628.07
03/26/2021   1190303    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               628.07
04/26/2021   1193595    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               628.07
05/25/2021   1196736    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               628.07
06/25/2021   1199550    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               628.07
07/26/2021   1202773    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               628.07
08/26/2021   1205923    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               628.07
09/24/2021   1209071    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               628.07
10/25/2021   1212180    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               628.07
11/22/2021   1215243    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR               624.86
12/23/2021   1218261    BANK OF AMERICA NA**                    AMOUNTS DISBURSED TO CREDITOR             1,249.72



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Debtor 1     THOMAS D. HUBINSKY                                        Case number   (if known)   16-24710GLT
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                                             Disbursement History

Date         Check #    Name                                 Posting Type                                              Amount
                                                                                                                     38,881.56




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

THOMAS D. HUBINSKY
117 UNIVERSITY STREET
VERONA, PA 15147

SCOTT R LOWDEN ESQ**
NICOTERO & LOWDEN PC
3948 MONROEVILLE BLVD STE 2
MONROEVILLE, PA 15146

BANK OF AMERICA NA**
PO BOX 660933
DALLAS, TX 75266

BANK OF AMERICA NA
ATTN BANKRUPTCY NOTICING
PO BOX 31785
TAMPA, FL 33631-3785

BRIAN C NICHOLAS ESQ
KML LAW GROUP PC
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




2/2/22                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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